Case 2:04-cv-02462-.]PI\/|-STA Document 31 Filed 08/31/05 Page 1 of 2 Page|D 27

IN THE UNITED sTATEs DISTRICT cOURT ”'E° “Y~ -~~--D“

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JOHANNA ALBERS,
Plaintiff,

v. NO. 04-2462-D-An
JURY DEMANDED

WALGREEN CO.,

\_/`_i‘~_/\-/\.I`_d\_¢\_¢\'/

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION TO AMEND SCHEDULING ORDER

 

Before the Court is Plaintiff`s Motion to Amend Scheduling Order filed on August 26,
2005. For good cause shown, the Motion is GRANTED. Plaintiff shall have until October 15,
2005 to complete her expert discovery depositions

The other deadlines established in the Rule 16(b) Scheduling Order remain in effect.

IT ls so 0RI)ERED.
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(€. /A/m/)s @;~`.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: l§l_oqf 51, B.§

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This notice confirms a copy of the document docketed as number 31 in
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Honorable Bernice Donald
US DISTRICT COURT

